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Eastern District of Washington FILED IN THE U.S, DISTRICT COURT
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YAKIMA, WASHINGTON

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA, 1:19-CR-02032-SMJ
Plaintiff, SECOND SUPERSEDING INDICTMENT

Vio: 18 U.S.C. §§ 2119, 2
V. Carjacking
(Count 1)

JAMES DEAN CLOUD and 18 U.S.C. § 924(c)(1)(A)G), (ii)
DONOVAN QUINN CARTER CLOUD, Brandishing of a Firearm During a

Crime of Violence
Defendants. (Counts 2, 3, 6)

18 U.S.C. §§ 2109, 1153, 3559(f)(2)
Kidnapping
(Count 4)

18 U.S.C. §§ 113(a)(3), 1153
Assault with a Dangerous Weapon
(Count 5)

 

SECOND SUPERSEDING INDICTMENT 1
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18 U.S.C. §§ 1111, 1153,2
First Degree Murder
(Count 7)

18 U.S.C. § 924(c)(1(A)(i), Gi)
Discharge of a Firearm During a Crime of
Violence sO

— (Count 8)

 

The Grand Jury charges:

 

 

| ~ . COUNT 1
On or about June 8, 2019, in the Eastern District of Washington, the

Defendants, JAMES DEAN CLOUD and DONOVAN QUINN CARTER

 

 

CLOUD, took a motor vehicle, to wit: a 2007 Chevrolet Silverado, that had been

transported, shipped, and received in interstate and foreign commerce from J.V. by

 

force, violence, and intimidation, with the.intent to cause death and serious bodily

harm, all in violation of 18 U.S.C. §§ 2119, 2.

. COUNT 2
On or about June 8, 2019, in the Eastern District of Washington, the
Defendant, JAMES DEAN cLoup, during and in relation to a crime of violence,
for which he may be prosecuted in a court of the United States, to wit: Carjacking,

in violation of 18 U.S.C. § 2119, as alleged:in Count | of this Second Superseding

SECOND SUPERSEDING INDICTMENT 2

 

 
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Indictment, did knowingly use, carry, brandish, and possess in fartherance of the
Carjacking, a firearm, all in violation of 18 US.C. § NDA \(LANI), (ii).
COUNT 3
On or about June 8, 2019, in the Bastern District of Washington, the
Defendant, DONOVAN QUINN CARTER CLOUD, during and in relation toa
crime of violence, for which he may be prosecuted in a court of the United States,
to wit: Carjacking, in violation of 18 U.S.C. § 2119, as alleged in Count 1 of this
Second Superseding Indictment, did knowingly use, carry, brandish, and possess in
furtherance of the Car} acking, a firearm, all in violation of 18 USC. § .
924(c\1XAIM, Gi).
| COUNT 4
On or about June 8, 2019, in the Eastern District of Washington, the
Defendants, JAMES DEAN CLOUD and DONOVAN QUINN CARTER
CLOUD, both Indians, who were not parents, grandparents, brothers, sisters, aunts,
uncles, or individuals having legal custody of Minor A, did unlawfully kidnap,
abduct, confine, and carry away and hold for ransom or reward or otherwise a
person identified as Minor A for a vehicle, and Minor A had not then attained the
age of eighteen years, all within the boundaries of the Yakama Nation Indian
Reservation, in Indian Country; in violation of 18 U.S.C. §§ 1201(a)(2), (g)(1),

1153, and 3559(£)(2), 2.

SECOND SUPERSEDING INDICTMENT 3

 
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COUNT 5
On or about June 8, 2019, in the Eastern District of Washington, within the
boundaries of the Yakama Nation Indian Reservation, i in Indian Country, the
Defendant, JAMES DEAN CLOUD, an Indian, did knowingly assault J.V. with a
dangerous weapon, that is, a firearm, with intent to do bodily harm; in violation of
18 U.S.C. § 113(@)(3), 1153. |
COUNT 6
On or about June 8, 2019, in the Eastern District of Washington, the
Defendant, JAMES DEAN CLOUD, during and in relation to a crime of violence,
for which he may be prosecuted in a court of the United States, to wit: Assault with
a Dangerous Weapon, in violation of 18 U.S.C. §§ 113(a)(), § 1153, as alleged in
Count 5 of this Second Superseding Indictment, did knowingly use, carry,
brandish, and possess in furtherance of the Assault with a Dangerous Weapon, a
firearm, all in violation of 18 U:S.C. § 924(c)1A)G), (ii).
COUNT. 7
~ On or about June 8, 2019, in the Eastern District of Washington, within the
external boundaries of the Yakama Nation Indian Reservation, in Indian Country,
the Defendant, JAMES DEAN CLOUD, an Indian, willfully, deliberately,

maliciously, and with premeditation and malice aforethought, did unlawfully kill

SECOND SUPERSEDING INDICTMENT 4

 

 
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D.O. by shooting him with a rifle, and did aid and abet the same; all in violation of

18 U.S.C. §§ 1153, 1111, 2.

COUNT 8

On or about June 8, 2019, in the Eastern District of Washington, the

Defendant, JAMES DEAN CLOUD, during and in relation to a crime of violence,

for which he may be prosecuted in a court of the United States, to wit: First Degree

Murder, in violation of 18 U.S.C. §§ 1111, 1153, as alleged in Count 7 of this

Second Superseding Indictment, did knowingly use, carry, brandish, possess, and

discharge in furtherance of the First Degree Murder, a firearm, all in violation of

18 U.S.C. § 924(c)(1)(A)(iii).

DATED: February 11, 2020

William D. Hyslop
United States Attorney

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Thomas J. Hanlon ~

Assistant United States Attorney

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Tan Grogs (br
Richard C. Burson)

Assistant United States Attorney

  
 

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SECOND SUPERSEDING INDICTMENT

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A TRUE BILL
